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EXHIBIT A
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STATE OF FLORIDA Sala
OFFICE OF FINANCIAL REGULATION i Le fee :
In Re: ~ ft ,
AMERICAN HOME MORTGAGE Administrative Proceeding
CORP. OF NEW YORK No.: 1529-F-6/06

a registrant under Chapter 494, Fla. Stat.,
Mortgage Broker and Lender Code

Respondent.

FINAL ORDER

The Office of Financial Regulation ("Office"), and Respondent,
AMERICAN HOME MORTGAGE CORP. OF NEW YORK, having entered into a
Stipulation and Consent Agreement last dated Lepee. bo , 2006,
attached hereto, resolving and concluding this matter:

IT IS ACCORDINGLY ORDERED:

1. The Stipulation and Consent Agreement attached hereto is adopted
and incorporated herein by reference as if set forth at length;

2. ° The Office and Respondent shall comply with all provisions of the
incorporated Stipulation and Consent Agreement.

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DONE and ORDERED this / 7 _ day of October 2006, in Tallahassee,

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DON B. SAXON, Commissioner
Office of Financia} Regulation -

Leon County, Florida.

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NOTICE OF RIGHT TO JUDICIAL REVIEW

A PARTY WHO IS ADVERSELY AFFECTED BY THIS FINAL ORDER IS
ENTITLED TO JUDICIAL REVIEW PURSUANT TO SECTION 120.68, FLORIDA
STATUTES. APPELLATE PROCEEDINGS ARE GOVERNED BY THE
FLORIDA RULES OF APPELLATE PROCEDURE. SUCH PROCEEDINGS ARE
COMMENCED BY MAILING A NOTICE OF APPEAL TO:

THE AGENCY CLERK
OFFICE OF FINANCIAL REGULATION
P.O. BOX 8050
TALLAHASSEE, FL 32314-8050
OR HAND DELIVERING TO 101 EAST GAINES ST., TALLAHASSEE, FLORIDA. A
COPY, ACCOMPANIED BY FILING FEES PRESCRIBED BY LAW, MUST BE FILED _
WITH THE DISTRICT COURT OF APPEAL, FIRST DISTRICT, OR WITH THE
DISTRICT COURT OF APPEAL IN THE APPELLATE DISTRICT WHERE THE PARTY
RESIDES. THE NOTICE OF APPEAL MUST BE FILED WITHIN 30 DAYS OF
RENDITION OF THE ORDER TO BE REVIEWED.

CERTIFICATE OF SERVICE

! HEREBY CERTIFY that a copy of the foregoing Final Order was sent by U. S.
Mail to Mitchell H. Kider, Esq., attorney for AMERICAN HOME MORTGAGE CORP. OF
NEW YORK, at Weiner Brodsky Sidman Kider PC, 1300 19" St. NW. fifth Floor,
Washington, DC 20036-1609 on this LT? day of October 2006.

Robert H. Schott, Esq.

Fla. Bar No.: 0312266
Assistant General Counsel
Office of Financial Regulation
P.O. Box 8050 .
Tallahassee, FL 32314-8050
(850) 410-9648

Facsimile: (850) 410-9645

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STATE OF FLORIDA
OFFICE OF FINANCIAL REGULATION

In Re:

AMERICAN HOME MORTGAGE Administrative Proceeding
CORP. OF NEW YORK No.: 1529- F-6/06

a registrant under Chapter 494, Fla. Stat.,

Mortgage Broker and Lender Code

Respondent,
" /

STIPULATION AND CONSENT AGREEMENT

The State of Florida, Office of Financial Regulation (the “Office” or “OFR'),
pursuant to Chapter 494, Florida Statutes, and AMERICAN, HOME MORTGAGE
CORP. OF NEW YORK (‘Respondent’) in consideration of the mutual promises
herein, recite, stipulate, and agree as follows:

1. ‘Background: Respondent's registered address is 538 Broadhollow
Road, Melville, New York 11747.

2. Jurisdiction: The Office is responsible for the administration and

_ enforcement of Chapter 494 Florida Statutes, and has jurisdiction over
Respondent, AMERICAN HOME MORTGAGE CORP. OF NEW YORK, ‘pursuant
to Sections 494.0011, 494.001 2, 494.0072, and 494.0073, Florida Statutes.

3. Findings: On February 9, 2006, in response to a consumer complaint,
the Office examined Respondent's processing of mortgage loan to Gil Alvarez.
The examiner reviewed the documents and information received from the

complainant and the Respondent. Further, the examiner reviewed records

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obtained by subpoena and interviewed Mr. Alvarez, the loan originator, and the. -
closing agent. As a result of that examination, the Office alleges the
discrepancies or violations described in Paragraphs 3.a. and 3.b. below.
Respondent neither admits nor denies the allegations.

a. The loan originator acting for Respondent, Lynette Warren, promised
Mr. Alvarez a 5.25% interest rate on a thirty year fixed mortgage. However, Ms.
- Warren failed to lock-in that 5.25% rate, and at closing, the rate had increased to
5.75%, Mr. Alvarez alleges that he had to accept a mortgage foan at 5.75%
interest or face legal action.

b. Over the thirty-year fife of the mortgage, Mr. Alvarez will incur financial
loss. Further, the loan originator's failure to lock-in the promised interest rate
constituted negligence and incompetence in a mortgage financing transaction
- within thé meaning of Section 494.0072(2)(b), Florida Statutes.

¢. Section 494.0072 authorizes the Office to impose penalties including
imposition of a fine not exceeding. $5000 per offense when a licensee commits
an enumerated offense. Those offences include negligence or incompetence in
any mortgage financing transaction. See Subsection 494.0072(2){b), Florida
Statutes. .

4. Consideration; The parties agree that the issues raised in this

matter can be expeditiously resolved without the expense of litigation and/or a
hearing. Therefore, in compromise and settlement of the investigation and in
consideration of the Office’s forbearance from issuance of an administrative

_ Complaint and pursuing litigation.

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a. That Respondent agrees, in the conduct of any and all business affairs
requiring registration under the Act, to strictly comply with all provisions of the
‘Act, Chapter 494, Florida States, as it now exists and as they may be amended.
Respondent also agrees to strictly comply with Chapter 69V, Florida
Administrative Code, adopted by the Office pursuant to the Act, as such rules
. Now exist and as they may be amended.

- b. That-Respondent is fined five thousand dollars ($5000.00) payable by
cashiers check and made payable to the Department of Financia! Services, and
mailed to the Agency Clerk, Office of Financial Regulation, 200 E. Gaines Street,
Fletcher 526, Tallahassee, Florida 32399-0379, and reference Administrative
Proceeding No.1529-F-6/06. Respondent shall submit the check simultaneous
with the retum of this executed agreement, Respondent understands and
agrees that (1) in accordance with Section 215.31, Florida Statutes, regarding
the deposit of monies that the tendered fine or settlement check proceeds may
be deposited in advance of full execution or acceptance of the proposed
settlement agreement and (2) such deposit shail not be construed as a final
acceptance of the Stipulation absent full execution thereof and entry of the Final
Order adopting same,

‘5. FINAL ORDER: Respondent consents to the entry of a Final Order”
adopting and incorporating this Stipulation by reference. . Respondent
understands and agrees that this Stipulation and Consent Agreement is subject
to final approval by the Commissioner of the Office and by entry of a Final Order

adopting it. In the event the Final Order is not entered, this Stipulation and

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Consent Agreement shall be null and void. The Final Order incorporating the
terms of this Stipulation and Consent Agreement constitutes final agency action
by the Office for which the Office may seek enforcement pursuant to the
provisions of Chapter 120 and 494, Florida Statutes.

6. CONSENT. AND WAIVER. By Respondent's consent to the entry
ofa Final Order with respect to this proceeding, Respondent knowingly and
voluntarily waives:

a. Any right to receipt of administrative charges or complaint and a notice
of rights pursuant to Chapter 120, Florida Statutes;

b. Any right to an administrative hearing provided by Chapter 120, Florida
Statutes; .

c. Any requirement that that Office's Final Order contain separately stated
findings of fact and conclusions of law or a notice of rights;

d. Any right to issuance of a recommended order by an administrative law
judge from the Division of Administrative Hearings or a hearing officer from the
Office; and

e. Any and all rights to object to or to challenge in any judicial proceeding
including but not limited to, an appeal pursuant to Section 120.68, Florida
Statutes, any term, obligation, condition or requirement of the Final Order.

7. FAILURE TO COMPLY: Respondent agrees that failure to comply
with any of the terms, obligations, and conditions of this Agreement shall be a

. violation of a Final Order of the Office. Such noncompliance may result in the

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issuance of an emergency cease and desist order. However, nothing herein
shall limit Respondent's right to contest such a finding of ROnCo ener

8. RELEASES: Upon full execution of this Agreement, Respondent

- waives and releases the Office, its agents, representatives, and employees from
any and all causes of action that Respondent may have, now or in the future,
arising from or relating to the subject matter hereof. The Office agrees to accept
this release on behaff of itself, its agents, representatives, and employees without
acknowledging and expressly denying that any such cause or causes of action
may exist. . "

9, ATTORNEYS’ FEES: Each party herein shall be solely
responsible for his or its attorney fees and costs incurred in the defense,
prosecution, or negotiations in this matter up te and including the entry of the
Final Order.

10.  SEVERABILITY: Respondent agrees that if any provision of this
Stipulation and Consent Agreement or the application thereof to any person or
‘circumstance is held invalid, the invalidity shall not affect other provisions of the
Agreement, which will be given effect without the invalid provisions, and to this
end, the provisions of this Agreement are declared severable. .

11. CORPORATE AUTHORITY: The undersigned representative

' of AMERICAN HOME MORTGAGE CORP. OF NEW YORK has full authority to
enter into and bind AMERICAN HOME MORTGAGE CORP. OF NEW YORK to

the terms and conditions of this Stipulation and Consent Agreement.

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WHEREFORE, in consideration of the foregoing, the Office.and
Respondent executes this Stipulation and Consent Agreement to issuance of a
Final Order, as attached hereto, on the last date indicated below:

OFFICE OF FINANCIAL “

bh wee

RICHARD WHITE, Date
Director, Securities and Financial Regulation

RESPONDENT
AMERICAN HOME MORTGAGE CORP. OF. NEW YORK

Ce nm aliglo

By Alan Horn, General Counse! Date

STATE or Be
COUNTY OF

BEFORE ME, the undersigned authority, personally appeared Alan Horn
as General Counsel of AMERICAN HOME MORTGAGE CORP. OF NEW
YORK, who is personally known to me or has produced adequate identification,
and who, after being duly sworn, states that he has read and understands the

contents of this Stipulation and omeet Agreement and voluntarily executed the
same.

SUBSCRIBED and SWORN to before me this _/8 day of Reb hiet 2006.

hetess nal

My Commission Expires: 100%

ARLENE PARKS
Public State of Naw York
No. 01PA6111185

Commission eae Mine oO QD

